     Case 2:20-cv-00636-WBS-DMC Document 20 Filed 08/14/20 Page 1 of 3

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11                                 UNITED STATES DISTRICT COURT
12                                 EASTERN DISTRICT OF CALIFORNIA
13

14   PATRICIA DOUGHERTY,                         Case No. 2:20-CV-00636-WBS-DMC

15                    Plaintiff,                 JOINT STATUS REPORT REGARDING
                                                 SETTLEMENT AND REQUEST FOR
16          v.                                   EXTENSION TO FILE DISPOSITION
                                                 DOCUMENTS; ORDER
17   LOANCARE, LLC,

18                    Defendant.

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                                                -1-           Case No. 2:20-CV-00636-WBS-DMC
         JOINT STATUS REPORT REGARDING SETTLEMENT AND REQUEST FOR EXTENSION TO FILE
     Case 2:20-cv-00636-WBS-DMC Document 20 Filed 08/14/20 Page 2 of 3

 1          The Plaintiff, Patricia Dougherty, and the Defendant, Loancare, LLC, pursuant to the

 2   Court’s August 3, 2020 order (Docket #18) hereby submit this Joint Status Report regarding

 3   settlement and disposition documents (“Joint Status Report”). Plaintiff and Defendant continue to

 4   work together in good faith to finalize the terms of the parties’ settlement agreement and release.

 5   Due to the ongoing COVID-19 pandemic, and the interruptions in the regular flow of business

 6   and evolving challenges related thereto, the parties request another two-week extension to file

 7   disposition documents with the Court. If granted, this extension would give the parties until

 8   August 27, 2020 to file disposition documents, or to submit another joint status report if

 9   settlement has not been finalized.

10          Respectfully submitted,

11                                                 LAW OFFICE OF ANDREW H.
     Dated: August 14, 2020                        DOUGHERTY
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13                                                 By: /s/Andrew Dougherty (with permission)
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26                                                       LoanCare, LLC
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                                                   -2-                  Case No. 2:20-CV-00636-WBS-DMC
         JOINT STATUS REPORT REGARDING SETTLEMENT AND REQUEST FOR EXTENSION TO FILE
     Case 2:20-cv-00636-WBS-DMC Document 20 Filed 08/14/20 Page 3 of 3

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 2          IT IS HEREBY ORDERED that Plaintiff, Patricia Dougherty, and Defendant LoanCare,

 3   LLC’s Request for Extension to File Disposition Documents is GRANTED. The parties have

 4   until September 8, 2020 to file disposition documents, or to submit another joint status report if

 5   settlement has not been finalized.     The Scheduling Conference is continued from August 17,

 6   2020 to September 14, 2020 at 1:30 p.m. in Courtroom 5 (WBS), and shall be automatically

 7   vacated upon the parties’ filing of a stipulated dismissal.

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     Dated: August 14, 2020
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                                                     -3-              Case No. 2:20-CV-00636-WBS-DMC
         JOINT STATUS REPORT REGARDING SETTLEMENT AND REQUEST FOR EXTENSION TO FILE
